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Exhibit B

License Acknowledgement

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EXECUTION VERSION

AMENDED AND RESTATED COMMERCIAL LICENSES ACKNOWLEDGMENT

This acknowledgment dated as of July 8, 2011 (the “Acknowledgment”) is provided by
Rockstar Bidco, LP (the “Purchaser”) to:

(i) Nortel Networks Corporation, a corporation organized under the laws of Canada
(“NNC”);

(ii) | Nortel Networks Limited, a corporation organized under the laws of Canada
(“NNL”);

(iii)Nortel Networks _Inc., a corporation organized under the laws of Delaware (“NNI’);

(iv) _ the entities listed in Exhibit A hereto (the “EMEA Sellers”) which, in the case of
Nortel Networks UK Limited (in administration) (“NNUK”), Nortel Networks France
S.A.S. (in administration) and Nortel GmbH (in administration) are acting by Alan
Robert Bloom, Stephen John Harris, Alan Michael Hudson and Christopher John
Wilkinson Hill of Ernst & Young LLP (the “UK Joint Administrators”) and in the
case of Nortel Networks (Ireland) Limited (in administration) is acting by David
Hughes of Emst & Young Chartered Accountants and Alan Robert Bloom (the “Irish
Joint Administrators”) (the UK Joint Administrators and the Irish Joint
Administrators being collectively, the “Joint Administrators”), and in the case of
Nortel Networks S.A. (in administration and liquidation judiciaire) (“NNSA”) is
acting by the UK Joint Administrators and Maitre Cosme Rogeau, 26 avenue Hoche,
78000 VERSAILLES appointed as mandataire liquidateur by the French Court (as
defined below) (the “French Liquidator”), the Joint Administrators act as agents of
the EMEA Sellers without any personal liability and the French Liquidator acts as
agent of NNSA without any personal liability;

(v) the entities listed in Exhibit B hereto;
(vi) the French Liquidator; and
(vii) the Joint Administrators.
The parties referred to in (i) through (v) are referred to collectively as the “Sellers”.
The parties referred to in (i) through (vii) are referred to collectively as the “Selling Parties”.

WITNESSETH

WHEREAS the Selling Parties have entered into an asset sale agreement dated as of June
30, 2011,among the Selling Parties and the Purchaser (as the same may be further amended,
restated, amended and restated or modified, the “Sale Agreement”) pursuant to which the
Sellers are selling the Assets (as defined in the Sale Agreement) to the Purchaser. The sale of the
Assets shall be referred to herein as the “Transaction”.

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WHEREAS under the Sale Agreement, the Assets are sold subject to, inter alia,
Commercial Licenses (as such term is defined in the Sale Agreement) entered into prior to the
date of the Sale Agreement.

WHEREAS the Selling Parties wish to clarify with the Purchaser the Selling Parties’
characterization of certain agreements between the Sellers, or any of them, and certain third
parties as Commercial Licenses.

WHEREAS the Purchaser executed a Commercial License Acknowledgement dated as of
June 30, 2011 (the “Original Commercial License Acknowledgement”) and the Purchaser now
wishes to amend and restate the Original Commercial License Acknowledgement in its entirety
to include certain amendments and additions to Schedule “A”.

NOW, THEREFORE, The Purchaser acknowledges as follows:

1. -Capitalized terms used but not otherwise defined herein shall have the meanings set forth
in the Sale Agreement.

2. All agreements listed in Schedule “A” hereto, as well as all amendments and supplements
thereto (whether or not listed in Schedule “A’”’) and all agreements that are substantially
similar to those listed in Schedule “A” (and with licensing terms that are substantially
similar to or no more broad than the licensing terms in the agreements listed in Schedule
“A’”’) and that are between any of the Sellers and the counterparties to the agreements
listed in Schedule “A” and their respective affiliates, as well as all amendments and
supplements thereto (collectively, the “Subject Agreements”) shall be deemed to
constitute Commercial Licenses.

3. Notwithstanding any provision to the contrary in the Sale Agreement, the Purchaser shall
purchase the Assets subject to any licenses granted under the Subject Agreements, if any,
and shall have no entitlement to indemnification or other remedy from any of the Sellers,
including in respect of Damages suffered, or that may be suffered, as a result of the
existence of any licenses granted under the Subject Agreements.

4. The Purchaser acknowledges that the list of Subject Agreements attached hereto as
Schedule “A” is not, and is not intended to be, an exhaustive list of all Commercial
Licenses to which the Assets are subject. For greater certainty, the Purchaser shall
purchase the Assets subject to the Commercial Licenses entered into prior to the date of
the Sale Agreement and thereafter in accordance with the terms of the Sale Agreement,
whether or not such licenses have been identified on Schedule “A” hereto or elsewhere.

5. Listing of a particular Subject Agreement on Schedule “A” hereto is not intended by the
Parties to be, and shall not be, an acknowledgment or evidence that any such agreement
remains in force as of the date of execution of this Acknowledgment or that any such
agreement provides any license rights whatsoever to any third party.

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6. Listing of a particular Subject Agreement on Schedule “A” hereto is not intended by the
Parties to be, and shall not be, an acknowledgment or evidence that any particular Seller
or its affiliates that is party to such Subject Agreement has any rights in any particular
Asset that is the subject of the Transaction.

7. This Acknowledgment supercedes and replaces the Original Commercial License
Acknowledgement, and shall be binding upon the Purchaser and its successors and
permitted assigns.

8. No failure to exercise, and no delay in exercising, any right, remedy, power or privilege
under this Acknowledgment by any Selling Party will operate as a waiver of such right,
remedy, power or privilege, nor will any single or partial exercise of any right, remedy,
power or privilege under this Acknowledgment preclude any other or further exercise of
any right, remedy, power or privilege. No Selling Party will be deemed to have waived
any acknowledgment provided herein unless such waiver is in writing, and then such
waiver shall be limited to the circumstances set forth in such written waiver.

ROCKSTAR BIDCO, LP
by: Rockstar Bidco GP, LLC, its general
partner

By: J |
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EXHIBIT A — EMEA Sellers

Nortel Networks UK Limited (in administration)

Nortel Networks S.A. (in administration and liquidation judiciaire)
Nortel Networks (Ireland) Limited (in administration)

Nortel Networks France 8.A.S. (in administration)

Nortel GmbH (in administration)

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EXHIBIT B — Other Sellers

NN Applications Management Solutions Inc.

Nortel Altsystems, Inc. (previously “Alteon Networks, Inc.”)
CoreTek, Inc.

Qtera Corporation
Xros, Inc.

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SCHEDULE “A”
SUBJECT AGREEMENTS
COUNTERPARTY NORTEL PARTY AGREEMENT TITLE
International Business ICL PLC Agreement, dated January

Machines Corporation

1, 1982 (L821428)

International Business
Machines Corporation

Northern Telecom Limited

Agreement, dated July 1,
1979, and Amending
Agreement No. 1, dated
April 28, 1983 (L791262)

Verizon Services Corp. et Nortel Networks Inc. General Purchase

al. Agreement No. 710-
30912-2006, Articles I, II,
III and V, effective as of
January 1, 2007

Alltel Communications Nortel Networks Inc. Master Purchase

Inc.

Agreement with
Attachments A-L,
Appendices and Exhibits
Contract No. 26857, dated
July 17, 2006

Verizon Services Corp.

Nortel Networks Inc.

General Product Purchase
Agreement for Softswitch
and TDM Products and
Services Contract No.
C0404520, effective as of
August 5, 2004

Verizon Services Corp.

Nortel Networks Inc.

Succession Products and
Services Deployment
Agreement C0404529

Verizon Services Corp. Nortel Networks Inc. Policy Decision Manager
Products and Services
Deployment Agreement
MA-000797-2007

WorldCom Purchasing, Nortel Networks Inc. Global Master

L.L.C, Procurement Agreement,
dated November 20, 1998

Verizon Corporate Nortel Networks Inc. Nortel NGADM

Services Group Inc.

Agreement MA-003136-
2008 dated November 10,

2008, as amended by

Amendments 1-18
Verizon Network Nortel Networks Inc. Global Business Partner
Integration Corporation Agreement, effective

January 1, 2003

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COUNTERPARTY NORTEL PARTY AGREEMENT TITLE

Verizon Corporate Nortel Networks Inc. Managed Service Provider

Services Group, Inc. Agreement, effective July
8, 2008

Bell Atlantic Network Bay Networks USA, Inc. Verizon (Bell Atlantic)

Integration, Inc. Non-Exclusive Integrator
Agreement effective May
1, 1997

MCI WorldCom Australia Nortel Networks Australia Managed Services

Pty Limited Pty Limited Agreement with Nortel
Networks Australia
executed September 26,
2002

Broadcom Corporation Nortel Networks Inc. Nortel Networks

Agreement No. 020896,
dated March 22, 2001, as
amended by (i) the
Amendment No. 1 with
effective date of January
17, 2002, Nortel Networks
Amended Agreement No.
021263, (ii) the
Amendment No. 2 with
effective date of March 15,
2002, Nortel Networks
Amended Agreement No.
021319, and (iii)
Amendment No. 3 with
effective date of March 22,
2001, Nortel Networks
Amended Agreement No.
021274

Broadcom Corporation

Nortel Networks Inc.

Power Ranger
FTAPMUX, FSWIP and
FFAD ASIC Design and
Development Agreement
dated as of November 2,
2001

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

SBC Operations, Inc.

Northern Telecom Inc.

AT & T — Nortel General
Agreement No. 980332,
dated April 30, 1999,
between SBC Operations,
Inc. n/k/a AT&T Services,
Inc. and Northern Telecom
Inc. n/k/a Nortel
Networks, Inc. (as
amended by Amendment
No 1 dated May 5, 2008,
and supplemented by a
Supplemental Agreement
dated March 3, 2009 and
January 1, 2010).

AT&T Services Inc.

Nortel Networks, Inc.

Nortel Switching Module
No. 03031410, dated as of
December 19, 2003

AT&T Corp.

Nortel Networks Inc.

General Purchase
Agreement No. GPA011D,
dated as of March 5, 1998,
as amended by
Amendment No. 2
effective November 29,
1999 and Amendment 12
dated as of March 4, 2009

Bellsouth Corporation

Nortel Networks Inc.

Global Supply and
Services Contact No.
R11796A, dated as of
October 1, 1999, as
supplemented by
Supplemental Agreement
effective as of June 25,
2001, and Supplemental
Agreement effective as of
April 16, 2006, as
amended by Amendment
No. 1 executed on April 4,
2008.

BellSouth Long Distance,
Inc.

Nortel Networks Inc.

Purchase/License
Agreement No. 100097,
dated as of November 1,
1997

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

AT&T Services, Inc.

Nortel Networks Inc.

Multi-Commitment and
Purchase Agreement No.
20080912.028.C, effective
November 15, 2008, as
amended by amendment
No. 1 executed August 21,
2009.

SBC Services, Inc.

Nortel Networks Inc.

Unified Networks
Distributorship
Agreement, Version 4.02
No. 00017864, dated as of
January 1, 2001 as
supplemented by
Supplemental Agreement
No. 20070622.898.C
executed on July 11, 2007,
Supplemental Agreement
No. 20070705.007.C
executed on July 11, 2007,
Supplemental Agreement
No. 20070828.022.C
executed September 5,
2007;

AT&T Services Inc.

Nortel Networks Inc.

Subordinate Agreement
No. 00017864.S.006 to
Agreement No. 17864
between AT&T Services,
Inc. and Nortel Networks,
Inc. dated December 18,
2008

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COUNTERPARTY NORTEL PARTY AGREEMENT TITLE

Cingular Wireless LLC Nortel Networks Inc. Master Sales Agreement,

No. 20070723.013C, dated
November 1, 2001

As supplemented by:
Supplement A: GSM
Requirements; Equipment
and Services Supplement
No. cing 6770.S.001; and
Supplement F: UMTS
Requirements

As amended by:
Amendment 3 to
Supplement A: GSM
Requirements;
Amendment 9 to
Supplement A: GSM
Requirements; and
Amendment 12;
Amendment 1 to
Equipment and Services
Supplement No. cing
6770.S.001

Cingular Wireless LLC Nortel Networks Inc. Letter Agreement dated

April 23, 2002, and related
Memorandum of
Agreement — e3 BSC

Cingular Wireless LLC Nortel Networks Inc. Letter Agreement, dated
April 20, 2006.
Cingular Wireless LLC Nortel Networks Inc. Letter Agreement, dated
December 18, 2006
Cingular Wireless LLC Nortel Networks, Inc. Letter Agreement, dated
September 19, 2007
AT&T Mobility LLC f/k/a Nortel Networks Inc Letter Agreement, dated
Cingular Wireless LLC December 30, 2008
Cingular Wireless LLC Nortel Networks Inc. Information Exchange
Agreement dated
November 6, 2006
AT&T Mobility LLC Nortel Networks Inc. Information Exchange
Agreement, No.
Openet Telecom, . 20070912.049.C, dated
Incorporated September 7, 2007

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COUNTERPARTY NORTEL PARTY AGREEMENT TITLE
BellSouth Nortel Networks Inc. Nortel Facilities
Communications Systems, Management Agreement,
LLC d/b/a AT&T

Communications Systems
Southeast, LLC

No. 20091008.015.C.
dated June 2, 2006, as
amended by Amendment
No. 3 dated December 2,
2009

AT&T Mobility LLC f/k/a
Cingular Wireless LLC

Nortel Networks Inc.

Letter Agreement
regarding ESSP Cap
Solutions, No. 200900107,
effective as of January 1,
2009,

Southwestern Bell
Telephone Company

Northern Telecom Inc.

General Agreement No.
C0228MO, effective
January 1, 1985

AT&T Services, Inc.

Nortel Networks, Inc.

AT&T — Nortel Switching
Module Agreement, No.
20081204.042.C, dated as
of September 11, 2009, as
amended by Amendment
No 20081204.042.A.0001
and supplemented by
Supplemental Agreement
20081204.042.S.001, as
amended by Amendment
No. 1 thereto.

AT&T Services, Inc.

Nortel Networks Inc.

Non-Disclosure —
Reciprocal, No.
20090410.042.C, dated
April 28, 2009

AT&T Corp Nortel Networks, Inc. DMS-250 Switching Level
Agreement No. LLJ276D,
dated as of December 21,
1998,

BellSouth Nortel Networks Inc. Supplemental Agreement

Telecommunications Inc.

No. 7 for DMS 10 & 100
Products and Services,
dated as of April 14, 2006

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

SBC Global Services, Inc.

Nortel Networks Inc.

Nortel Services Agreement
No. 021255/SBC Contract
90055200 dated June 1,
2002, as amended by
Amendments 1 through 4.

AT&T Services, Inc.

Nortel Networks, Inc.

Non-Disclosure -
Reciprocal, No.
20071102.018.C, dated as
of November 12, 2007

Insight Communications Nortel Networks Inc. 3-Way Non-Disclosure
Company LP Agreement, No.
: 20080922.052.C, dated as

AT&T Services, Inc. of September 23, 2008

AT&T Services Inc. Nortel Networks Inc. Reciprocal Non-
Disclosure Agreement,
No. 20080514.015.C,
dated as of May 19, 2008

AT&T Services, Inc. Nortel Networks Inc. Non-Disclosure -
Reciprocal No.
20070307.004.C effective
as of March 7, 2007

BellSouth Nortel Networks Inc.

Telecommunications, Inc.

Trial Agreement, No.
SLK0041, dated as of July
7, 2006

Southwestern Bell

Northern Telecom, Inc.

Network ACD RT-1000

Telephone Co. Agreement, No. CSL0348,
dated as of October 7,
1992

Southwestern Bell Northern Telecom, Inc. Technology Lab

Technologies Resources,
Inc.

Agreement, No. 94K007,
dated as of June 16, 1994

AT&T Services, Inc.

Nortel Networks Inc.

Notification Letter, No.
20070919.019.C, dated as
of November 8, 2007

AT&T Services, Inc.

Nortel Networks Inc

OME6000 Product Family
Supplemental Agreement
No. 20080605.036.C dated
August 31, 2009

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

Cingular Wireless LLC

Nortel Networks Inc.

Interactive Voice
Response (IVR)
Professional Services
Agreement effective
January 1, 2005

AT&T Corp.

Nortel Networks Inc.

AT&T/Nortel Networks
Reseller Agreement,

Nortel Agreement No.
24777

AT&T Services, Inc.

Nortel Networks Inc.

Trial Agreement, No.
20061215.034.C, effective
as of March 27. 2007

AT&T Services, Inc.

Nortel Networks Inc

Product Evaluation
Agreement
#20061215.034.S.004A
OM 5000/OME 6500 LNS

SBC Services, Inc.

Nortel Networks Inc.

Work Statement, No.
04034025, dated April 1,
2004, as amended by
Amendment No. 2,
Amendment No. 3 and
supplemented by
Supplemental Statement of
Work No.0434025.8.001,
as amended.

SBC Services, Inc.

Nortel Networks Inc.

Agreement for the License
of Incremental Software
No. 03031697, dated
October 31, 2003, as
amended by Amendment
No. 1.

Pacific Bell

Nevada Bell

Northern Telecom Inc.

Master Agreement for
INA Software, No.
P07137 dated June 30,
1995

SBC Services, Inc.

Federal Bureau of
Investigation

Nortel Networks Inc.

Cooperative Agreement to
Letter Agreement No. J-
FBI-99-053, No.
00014322

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

SBC Services, Inc.

Nortel Networks Inc.

Optical Networks
Management Software and
Technical Support
Agreement, No. 5041050,
effective October 1, 2005

AT&T Services, Inc.

Nortel Networks Inc.

Agreement for Purchases
of User Licenses and
Technical Support for
Optical Planner Software,
No. 20071110.001.C
effective June 1, 2008 as
amended by Amendment
No. 20071110.A.001

AT&T Services, Inc

Nortel Networks Inc.

Subordinate MPS 1000
Products and Services
Agreement, No.
04036069, as amended by
Amendment No. 1,
Amendment No. 2, and
Amendment
04036069.A.003

Southwestern Bell
Telephone Company

Northern Telecom Inc.

DMS Family Material and
Installation Contract, No.
C4113FO

AT&T Corp.

Nortel Networks Inc.

LOA Proposal No.
YEPRO21105 to DMS 500

Products Sup., dated
November 14, 2002

LOA 20090828.OME
between AT&T and
Nortel, dated August 1,
2009

AT&T Services, Inc.

Nortel Networks (Ireland)
Limited

Procurement Arrangement
for Supply of IP
Telephony, Contract No.
20080624.025.C

AT&T Services Inc.

Nortel Networks Inc.

Agreement No. 06046944
dated August 28, 2006

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COUNTERPARTY NORTEL PARTY AGREEMENT TITLE

AT&T Services Inc. Nortel Networks Inc. Agreement No. 06046687
dated August 28, 2006 as
amended by Amendment
06046687.A.001 and
Amendment
06046687.A.002

AT&T Services Inc. Nortel Networks Inc. Amendment #11 to
DWDM/CWDM
Agreement #01019547

SBC Services, Inc. Nortel Networks Inc. Optical Module
Agreement with
Amendment #1 and
Appendix #1-9,
Agreement No. 03032497
effective October 1, 2005.

Hewlett Packard Northern Telecom Limited License Agreement, made
and entered into on
September 14, 1977

Hewlett Packard Company Northern Telecom Inc. Operating Agreement,
dated August 8, 1983.

Hewlett-Packard Company Nortel Networks Inc. Master Agreement #MA-

and Hewlett-Packard 02-006, effective May 5,

Development Company, 2003

LP

US WEST Nortel Networks Inc. Agreement No. GAA0002

Communications, Inc. made as of October 6,
1983

US West Business Clarify Inc Agreement No. 98051104

Resources, Inc.

US West Business Northern Telecom, Inc Procurement Contract No.

Resources Inc. RPHCR42292 dated
December 11, 1989

Qwest Communications Northern Telecom Inc. Procurement Agreement

Corporation No. QW9711CN

Qwest Communications Northern Telecom Inc. Procurement Agreement

Corporation

For Transmission Products
No. QWT9801S effective
May 20, 1998

Qwest Communications
Corporation

Nortel Networks Inc.

Procurement Agreement
For Transmission Products
effective January 1, 1999

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COUNTERPARTY NORTEL PARTY AGREEMENT TITLE
Embarq Management Nortel Networks Inc. Master Purchase
Company Agreement for Products,
Systems and Services
Qwest Corporation Nortel Networks Inc. Letter Agreement Re:
Qwest Corporation
Geomax Program — Optera
. Metro 5200 Products
US West Nortel Networks Inc. Quest411 Agreement
Communications, Inc. effective October 21, 1999
Qwest Communications Northern Telecom Inc. Global Services
Corporation Agreement QW03-001922
Qwest Business Nortel Networks Inc. Nortel Networks Business
Resources, Inc. Partner Agreement
effective January 1, 2003
Qwest Communications Clarify Inc. Software License and
Corp. Maintenance Agreement
No. QWE121997 effective
December 19, 1997
CenturyTel Supply Group, Nortel Networks Inc. Nortel Reseller Agreement —
Inc. v.6.08US, effective January 1,
2009
CenturyTel Service Group, Nortel Networks Inc. Purchase and License
LLC Agreement,
Qwest/CenturyLink/Embarq

No. $0001-04-577

LCI International

Northern Telecom Inc.

Design, Engineering,

Management Services, Inc. Supply & Systems
Integration Agreement —
Transport

Thomas Swan & Co. STC PLC Letter Memorializing

Limited Ultrasonic Analyser
Licence, 1/28/1998

Motorola Solutions, Inc. Nortel Networks Inc.

Supply, Installation and
Services Agreement dated
December 31, 2005

3M Company

Northern Telecom Inc.,
among others

Project Agreement
Number 98039, dated
December 14, 1998.

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COUNTERPARTY

NORTEL PARTY

AGREEMENT TITLE

Verint Systems Inc.

Nortel Networks Limited

Interface License
Agreement dated January
16, 2003

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